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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                              January 03, 2025
                        UNITED STATES DISTRICT COURT                         Nathan Ochsner, Clerk

                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

LEWIS EARL PERKINS,                       §
(Inmate# 02051283), -                     §
                                          §
        Plain tiff, ,                     §
                                          §
vs.                                       §    CIVIL ACTION NO. H-24-2989
                                          §
OFFICER ORTIZ, et al.,                    §
                                          §
        Defendants.                       §

                         ORDER REOPENING ACTION

      Plaintiff Lewis Earl Perkins, (Inmate# 02051283), is an inmate at the Harris

County Jail. In August 2024, he filed a civil rights complaint under 42 U.S.C.

§ 1983, alleging that Harris County Jail Detention Officer Ortiz, Detention Officer

Dones, Supervisor Williams, and the Harris County Sheriffs Office Jail violated his

constitutional rights by using excessive force against him. (Dkt. 1). The Court

ordered Perkins to file a More Definite Statement of his claims, (Dkt. 7), and Perkins

filed a timely resportse. (Dkt. 8). Based on Perkins's responses, the Court ordered

him to file a Supplemental More Definite Statement of his claims. (Dkt. 10).

Perkins's response to that Order was due on or before November 4, 2024. (Id.).

When the Court had not received Perkins's Supplemental More Definite Statement

by December 2, 2024, the Court closed this action for lack of prosecution. (Dkt. 11 ).

      On December 17, 2024, the Court received Perkins's Supplemental More
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Definite Statement. (Dkt. 12). The postmark on the envelope shows that it was

placed in the Jail's mail system no later than November 11, 2024. (Id. at 8). While

this was slightly past the Court's deadline, it is apparent that P~rkins did not intend

to abandon his action. -The Court does not know why this piece of mail was delayed

in its delivery by five weeks, but it is clear that it was through no fault of Perkins.

      Accordingly, the Court ORDERS that this actiori be REOPENED and

reinstated to the Court's active_ docket.

      The Clerk will provide a copy of this Order to the plaintiff.

      SIGNED at Houston, Texas on             ~3                               , 2025.




                                             ~m: ~HITTNER
                                            UNITED STATES DISTRICT JUDGE




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